

People v Peaks (2019 NY Slip Op 00906)





People v Peaks


2019 NY Slip Op 00906


Decided on February 6, 2019


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 6, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

WILLIAM F. MASTRO, J.P.
ROBERT J. MILLER
COLLEEN D. DUFFY
HECTOR D. LASALLE, JJ.


2015-09022
 (Ind. No. 7689/10)

[*1]The People of the State of New York, respondent,
vAndrew Peaks, appellant.


Paul Skip Laisure, New York, NY (Melissa S. Horlick of counsel), for appellant.
Eric Gonzalez, District Attorney, Brooklyn, NY (Leonard Joblove and Victor Barall of counsel; Marielle Burnett on the memorandum), for respondent.



DECISION &amp; ORDER
Appeal by the defendant, as limited by his motion, from a sentence of the Supreme Court, Kings County (Alexander Jeong, J.), imposed August 26, 2015, upon his plea of guilty, on the ground that the sentence was excessive.
ORDERED that the sentence is affirmed.
The defendant's valid waiver of his right to appeal precludes appellate review of his contention that the sentence imposed was excessive (see People v Bryant, 28 NY3d 1094; People v Sanders, 25 NY3d 337; People v Lopez, 6 NY3d 248, 255).
MASTRO, J.P., MILLER, DUFFY and LASALLE, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








